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                                       17                            UNITED STATES BANKRUPTCY COURT

                                       18                                      DISTRICT OF NEVADA

                                       19   In re                                             Case No. BK-23-10423-mkn

                                       20            CASH CLOUD, INC.,                        Chapter 11
                                                     dba COIN CLOUD,
                                       21

                                       22                                  Debtor.
                                                                                              ADV. No. 23-01105-mkn
                                       23   CASH CLOUD, INC.,
                                            dba COIN CLOUD,
                                       24
                                                                                              AMENDED NOTICE OF
                                       25                                  Plaintiff,         VOLUNTARY DISMISSAL
                                            v.                                                WITH PREJUDICE
                                       26
                                            ROCKITCOIN, LLC,
                                       27

                                       28                                  Defendant.

                                                                                          1
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                                        1           Pursuant to Fed. R. Bankr. P. 7041 and Fed. R. Civ. P. 41(a)(1)(A)(i) & 41(a)(1)(B), Plaintiff,

                                        2   Cash Cloud, Inc., dba Coin Cloud hereby gives notice of dismissal of this adversary case, with

                                        3   prejudice.

                                        4           DATED this 10th day of July 2023.

                                        5                                             FOX ROTHSCHILD LLP

                                        6                                             By:       /s/Brett Axelrod
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